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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
In re: Chapter 11
SOUTHERN FOODS GROUP, LLC et al. : Case No. 19-36313 (DRJ)
Debtors.’ : (Jointly Administered)
x

MDVA’S OBJECTION AND RESERVATION OF RIGHTS IN RESPONSE TO THE
DEBTORS’ MOTION FOR ENTRY OF AN ORDER (A) AUTHORIZING SALE OF
CERTAIN OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL CLAIMS, LIENS,
INTERESTS, AND ENCUMBRANCES, (B) AUTHORIZING THE DEBTORS TO ENTER
INTO AND PERFORM THEIR OBLIGATIONS UNDER THE ASSET PURCHASE
AGREEMENT AND RELATED DOCUMENTS, (C) AUTHORIZING ASSUMPTION AND
ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES,
AND (D) GRANTING RELATED RELIEF

 

[Relates to Docket Nos. 925, 1178, & 1270]
Maryland and Virginia Milk Producers Cooperative Association, Incorporated
(“MDVA”), a supplier of raw milk and other dairy and drink products and creditor in the above-
captioned cases, by counsel, files this objection and reservation of rights (this “Objection”) to (1)

the Debtors’ motion (the “Sale Motion”) [D.I. 925) seeking entry of an order authorizing, among

 

‘ The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company
(9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC (3940);
Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information Systems, LLC
(0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean Foods North
Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean Intellectual
Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC (7782);
Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West
II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889);
DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc.
(8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s Manufacturing
and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream
Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714);
Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh
Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan, LLC (7200).
The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
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other things, (A) the sale of certain assets of the Debtors free and clear of all claims, liens,
liabilities, rights, interests, and encumbrances, (B) the Debtors to enter into and perform their
obligations under the asset purchase agreement and related documents, (C) the Debtors to
assume and assign certain executory contracts and unexpired leases, and (D) granting related
relief, and (2) the Debtors’ Notice of Bid Results [D.I. 1270] designating Dairy Farmers of
America, Inc. (“DFA”) as Successful Bidder for substantially all of Debtors’ assets. In support of
the Objection, MDVA respectfully states as follows:

PRELIMINARY STATEMENT

 

The Debtors seek approval of a sale of substantially all their assets to DFA, and approval
of DFA’s bid and accompanying Asset Purchase Agreement (“APA”) [D.I. 1278]. Yet, as the
Debtors and most parties in interest are aware, this sale to DFA continues to raise significant red
flags for antitrust regulators and private parties alike. DFA is by far the largest dairy cooperative
in the United States, and it also owns dairy processing facilities throughout the United States,
while Debtor Dean Foods Company, DFA’s largest customer, is the largest dairy processing
company in the United States. Cooperatives marketing and selling raw milk in the Southeast like
MDVA, which compete with DFA to supply raw milk to milk processors and consumer fluid
milk to retailers and other consumers of fluid milk, have legitimate antitrust concerns, which the
Debtors have done nothing to address. After running an expedited sale process on a very
compressed time frame the Debtors articulate no reason to believe that regulators and private
parties will not challenge a sale with DFA, instead remaining steadfast in their pursuit of such a
sale — regardless of the cost to their estates and the effect on competition in the dairy market.

While DFA’s bid is contingent on, and contemplates resolution of government regulators’

 

? Capitalized terms used but not otherwise defined in this Objection shall have the meanings given to them in the
Sale Motion documents, as applicable.
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objections to, its acquisition of the Debtors’ Assets, nothing filed with the Debtors’ Notice of Bid
Results or DFA’s Offer confirms that such an agreement has actually been concluded. See D.I.
1278-1, at 2 of 4 (summary of Regulatory Approvals). The Debtors’ actions in this regard are
commercially unreasonable and will, if permitted to proceed, likely lead to challenges on
antitrust grounds.

Because the Debtors have not satisfied their burden to establish a sound business reason
for a sale of almost all of their assets to DFA, their Sale Motion must be denied. Or, at the very
least, the order approving the sale with DFA must preserve all antitrust claims and challenges
arising from the sale, and the rights of all governmental and private parties to assert such claims.

JURISDICTION AND VENUE

 

1. This Court has jurisdiction to consider this Objection pursuant to 28 U.S.C. §§
157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

2. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

3. The statutory bases for the relief requested in this Objection are sections 105, 363,
and 365 of the Bankruptcy Code.

BACKGROUND

4. On November 12, 2019 (the “Petition Date”), each of the Debtors filed voluntary
petitions with this Court for relief under chapter 11 of the Bankruptcy Code. The Debtors’ cases
(the “Chapter 11 Cases”) are being jointly administered for procedural purposes only under case
number 19-36313 (DRJ). See Order Directing Joint Administration of Chapter 11 Cases [D.I. 9].

5. The Debtors remain in possession of their property and continue to manage their

businesses as debtors in possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.
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6. On November 22, 2019, the Office of the United States Trustee for the Southern
District of Texas appointed an Official Committee of Unsecured Creditors. See Notice of
Appointment of Committee of Unsecured Creditors [D.I. 288].

7. No trustee or examiner has been appointed in the Chapter 11 Cases.

The Bidding Procedures Motion and Hearings

8. On February 17, 2020, the Debtors filed the Motion of Debtors for Entry of
Orders (I)(a) Approving Bidding Procedures for Sale of Debtors’ Assets, (b) Approving the
Designation of Dairy Farmers of America, Inc. as the Stalking Horse Bidder for Substantially All
of Debtors’ Assets, (c) Authorizing and Approving Entry into the Stalking Horse Asset Purchase
Agreement, (d) Approving Bid Protections, (e) Scheduling Auction for, and Hearing To Approve,
Sale of Debtors’ Assets, (f) Approving Form and Manner of Notices of Sale, Auction, and Sale
Hearing, (g) Approving Assumption and Assignment Procedures, and (h) Granting Related
Relief and (I1)(a) Approving Sale of Debtors’ Assets Free and Clear of Liens, Claims, Interests,
and Encumbrances, (b) Authorizing Assumption and Assignment of Executory Contracts and
Unexpired Leases, and (c) Granting Related Relief (the “Bidding Procedures Motion”) [D.I.
925].

9. The same day, the Debtors filed the Debtors’ Notice of Filing of Stalking Horse
Asset Purchase Agreement [D.I. 935], which disclosed that the Debtors intended to designate
DFA as the stalking horse bidder. The “Stalking Horse Agreement” [D.I. 935-1] between the
Debtors and DFA was attached as Exhibit A.

10. On March 3, 2020, MDVA filed and served an objection (the “Procedures
Objection”) [D.I. 1058] to the Bidding Procedures Motion. Other parties in interest filed similar

objections.
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11. In the Procedures Objection, MDVA argued (among other things) the following:
(1) the Bidding Procedures Motion glossed over the regulatory issues that would arise if DFA
was the “Successful Bidder” and lacked adequate justification for the overly aggressive schedule
for bidding and approval of a sale; and (2) the Stalking Horse Agreement between the Debtors
and DFA prejudiced potential bidders such as MDVA, which seek to purchase one or two of the
Debtors’ facilities,> by failing to allocate the purchase price among the assets DFA would
purchase.

12. Many creditors and other parties in interest have stated similar unfairness
concerns or echoed MDVA’s unfairness concerns.*

13. On the morning of March 12, 2020, Debtors filed an omnibus reply (the “Reply”)
to the various objections to the Bidding Procedures Motion. While the Debtors made certain
concessions and revised the proposed order granting the Bidding Procedures Motion accordingly,
they failed to remedy the major deficiencies that MDVA and others had identified.

14. _—_‘ Later that day, this Court held a hearing on the Bidding Procedures Motion. At the
outset, this Court recognized that it could not approve the Bidding Procedures on file because
they could not ensure a fair, open, and transparent sale process. Bidding Procedures Hr’g Tr.
15:20; 16:22 — 17:2; 24:20 — 27:14. To that end, it was decided that the Debtors would not

conduct an auction with a stalking horse bidder. Instead, any party interested in bidding on one

 

3 Consistent with prior guidelines that it received from Evercore, MDVA submitted bid “proposals” on February 18,
2020 for the raw milk processing plants in High Point and Winston Salem, North Carolina and Lansdale,
Pennsylvania.

* On March 11, 2020, the DOJ sent a letter to counsel for the Official Committee of Unsecured Creditors (the
“Committee”) stating that “an acquisition of Dean by DFA appears to pose a serious risk of anticompetitive harm
that would likely need to be addressed either through divestitures or an injunction enjoining the transaction if DFA
and Dean are unwilling or unable to agree to appropriate remedies needed to protect American farmers and
consumers.” See Supplemental Objection of the Official Committee of Unsecured Creditors to Debtors’ Motion for
Approval of Bidding Procedures and Stalking Horse Asset Purchase Agreement filed March 11, 2020 [D.I. 1111]
and Exhibit A thereto.
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or more of the assets (including DFA) would be required to submit its bid by a certain deadline,
and then the Debtors would determine which of the “Qualified Bids” was the highest and best
offer. Moreover, the Debtors would be required to file copies of all bids to the case docket. *

15. Regarding antitrust issues, counsel for the DOJ advised the Court that it had not
yet reached an agreement with DFA on which facilities DFA would divest in order to obtain
DOJ’s approval of a sale of substantially all the Debtors’ assets to DFA. According to the DOJ’s
counsel, there was still a concerning “gap” between the parties’ relative positions, which the
Court appreciated. See Bidding Procedures Hr’g Tr. 66:11-21.° The Court also heard from
counsel for certain identified retailers who explained that antitrust claims held by private parties
may arise from a sale between the Debtors and DFA even if any regulatory challenges are
discontinued or otherwise resolved. See Bidding Procedures Hr’g Tr. 87:12-90:5. Therefore, the
Court asked counsel for those retailers to file a short memorandum addressing the legal basis for
a private party to obtain relief under the antitrust laws if DFA is the Successful Bidder (which
memorandum was filed on March 20, 2020).’

16. The Court adjourned the hearing to March 19, 2020, primarily to address the DFA
Bid Protections in view of the revised Bidding Procedures. Prior to the continued hearing,
however, the Debtors and DFA agreed that DFA would not seek any Bid Protections or act as

stalking horse.

 

5 By letter dated March 13, 2020, Evercore informed MDVA of the new schedule for submission of bids and related
sale events and deadlines (as approved by the Court at the hearing and embodied in the order that followed).

® Counsel for the DOJ further advised the Court that it takes the position that only an Article III court should hear
any lawsuit commenced by the DOJ on the grounds that a sale to DFA violates antitrust law. Bidding Procedures
Hr’g Tr. 12:8-13.

7 See Memorandum of the Stop & Shop Supermarket Company LLC and Food Lion LLC Regarding Private Rights of
Action to Challenge Anti-Competitive Mergers and Enforce the Antitrust Laws [D.I. 1186].
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17. On March 19, 2020, the Court entered the Order (I) Approving Bidding
Procedures for Sale of Debtors’ Assets, (II) Scheduling Hearing to Approve Sale of Debtors’
Assets, (III) Approving Form and Manner of Notices of Sale and Sale Hearing, (IV) Approving
Assumption and Assignment Procedures, and (V) Granting Related Relief [D.I. 1178] (the
“Bidding Procedures Order”). Consistent with the record of the prior hearings, the Bidding

Procedures Order established the following schedule:

 

March 30, 2020 at 12:00 p.m. | Bid Deadline
(prevailing Central Time)

March 30, 2020 at 11:59 p.m. | Deadline for the Debtors to file with the Court copies of all
(prevailing Central Time) bids received by the Bid Deadline, the Notice of Bid
Results, and the proposed Sale Order(s)

April 1, 2020 at 12:00 p.m. Deadline to object to the Sale Transaction(s) to the
(prevailing Central Time) Successful Bidder(s), and Assumption and Assignment

April 3, 2020 at 9:00 a.m. Qhie ton itgadiine
(prevailing Central Time)

 

 

 

 

 

 

 

The Bids and Sale-Related Filings

18. On March 30, 2020, MDVA submitted its Qualified Bid for the Debtors’ raw milk
processing plant in High Point, North Carolina (the “High Point Facility’) and the related branch
facility in Chesapeake, Virginia. See Additional Attachments Re: Bid No. 21 - Maryland and
Virginia Milk Producers Cooperative Association, Inc. [D.I. 1292].

19. Following the expiration of the Bid Deadline and starting around 12:11 a.m.
prevailing Central Time on March 31, 2020, the Debtors filed (a) the Notice of Bid Results [D.I.
1270] providing, inter alia, that DFA was the Successful Bidder for substantially all the Debtors’
assets, including the Debtors’ High Point, NC plant and related facilities (the “Assets”), having
submitted a bid in the amount of approximately $433 million subject to certain adjustments, and
(b) copies of all timely bids and related documents that the Debtors had received (as

supplemented) [D.I. 1271-1307, 1319 & 1321]. MDVA was designated the Alternate Bidder for
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the High Point assets. The DFA bid does not allocate any portion of the purchase price among
the various plants and related assets that DFA proposes to purchase.

20. No declaration from the Debtors or their professionals was filed in support of the
selection of DFA as the Successful Bidder — even though the Debtors have the burden to
establish the propriety of the sale.

21. MDVA respectfully submits that the proposed sale to DFA should not be
approved.

ARGUMENT

I. The Court Should Not Approve The Sale Of The Debtors’ Assets To DFA Because
DFA’s Offer Was Not The “Highest And Best” Offer.

A. DFA’s Acquisition Of The Assets Will Violate Section 7 Of The Clayton Act.

22. | DFA’s proposed acquisition of Debtors’ Assets raises a substantial antitrust
closing risk. For example, the proposed DFA acquisition of Debtors’ three milk processing
plants in the Carolinas (i.e., North and South Carolina) will substantially lessen (if not entirely
eliminate) competition for the supply of raw fluid milk and for the sale of consumer fluid milk
and other fresh dairy products in that region. This effect on competition will cause significant
losses and harm to MDVA, which requires access to milk processing and packaging facilities to
sell the raw milk produced by its members, many of whom are located in or near the Carolinas.
Both the federal government and private parties have standing to assert antitrust claims under
section 7 of the Clayton Act, which prevents acquisitions that tend to substantially lessen
competition. Even if the DOJ ultimately approves this acquisition, private parties such as MDVA
have standing to challenge and enjoin the acquisition. See California v. Am. Stores Co., 495 US.
271, 271 (1990) (private right of action to enjoin a transaction under section 7 of the Clayton

Act); In re AMR Corp., 527 B.R. 874, 882 (Bankr. S.D.N.Y. 2015) (section 7 applies to
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bankruptcy asset sales); Sprint Nextel Corp. v. AT&T Cos., 2011 WL 5188081, at *7 (D.D.C.
2011) (foreclosure of access to handsets by virtue of a proposed wireless industry merger is a
recognized antitrust injury by a competitor).

23. DFA is by far the largest dairy cooperative in the United States. The Debtors are
the largest processor of raw fluid milk in the United States. The transaction that the Debtors
have proposed will eliminate competition for the supply of raw fluid milk in the Carolinas while
also entrenching DFA’s control of the market by creating an even more difficult environment for
new entrants to compete. The proposed transaction also substantially limits options for retailers
located in or near the Carolinas to have dairy processing entities compete to supply fluid milk
and other fresh dairy products at competitive prices.

24. Over the past two decades, Debtors and DFA have been closely aligned in
increasing their respective concentration and suppressing competition, both by driving down
payments to milk farmers and increasing their cut of milk processing and packaging costs. Both
entities have been subject to antitrust lawsuits addressing this coordination and other
anticompetitive practices, including in an MDL Class Action which covered Appalachia and the
Southeast that was settled in 2013 for nearly $300 million. See In re Southeastern Milk Antitrust
Litigation, 2:08-md-01000 (E.D. Tenn.). The almost complete integration of DFA and Debtors
contemplated by the successful DFA Bid will be the culmination of the anticompetitive
concentration of the fluid milk industry across the nation but with particularly harmful and
anticompetitive effects in the Carolinas. This Dean/DFA Merger will compel independent dairy
farmers and milk cooperatives seeking to sell their raw milk throughout the Carolinas to face a
stark choice — join DFA or die.

27. |MDVA, a competing milk cooperative, is the only significant competitor to DFA
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for the supply of raw milk in the Carolinas. If the transaction proposed by Debtors and DFA is
approved by this Court and permitted to close, this competition will be permanently lost. To
continue as a viable competitor, MDVA’s farmers need access to processing facilities to sell the
raw milk produced on their dairy farms. However, post-transaction, DFA will have the ability
and incentive to foreclose MDVA and all non-DFA dairy milk farmers from access to local milk
processing facilities like High Point, NC, Winston-Salem, NC, and Spartanburg, SC. The
cobbled-together temporary patchwork of non-Debtor/non-Dean Foods processing facilities that
MDVA currently relies on is not sustainable in the long-term.

28. MDVA will lose farmers if it cannot provide them with access to local processing
facilities. A longer-term consequence of the transaction is that MDVA will be pushed out of the
market for the supply of raw milk entirely, making DFA the only significant cooperative in the
Carolinas.

29. Therefore, MDVA and perhaps other parties have significant and meritorious antitrust
claims, which render the sale to DFA too risky and uncertain for this Court to approve.

At a minimum, this Court should not enter a sale order prejudging these claims or

precluding MDVA and others from asserting them in the proper forum.

B. The Debtors, As Debtors-In-Possession, Must Operate And Manage Their
Estates In Accordance With Applicable Law.

30. _ Filing a petition for relief under chapter 11 of the Bankruptcy Code does not excuse a
debtor-in-possession from complying with non-bankruptcy law — including federal
antitrust statutes.

31. Pursuant to 28 U.S.C. § 959 (emphasis added),

debtors in possession. . . may be sued, without leave of the court
appointing them, with respect to any of their acts or
transactions in carrying on business connected with such
property. Such actions shall be subject to the general equity power

 

 

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of such court so far as the same may be necessary to the ends of
justice, but this shall not deprive a litigant of his right to trial by

jury.
[A] debtor in possession. . . shall manage and operate the

property in his possession. .. according to the requirements of
the valid laws of the State in which such property is situated... .

 

 

 

Therefore, a debtor-in-possession is prohibited from engaging in transactions that violate other
laws, and the debtor is not immune from the consequences of failing to adhere to them.’ See
Norris Square Civic Ass’n v. St. Mary Hosp. (In re St. Mary Hosp.), 86 B.R. 393, 398 (Bankr.
E.D. Pa. 1988) (“We believe that it is inescapable to avoid the conclusion that 28 U.S.C. §
959(b) requires a debtor to conform with applicable federal, state, and local law in conducting its
business.”).
32. More to the point, section 363(b) of the Bankruptcy Code does not preempt the Clayton
Act. See 11 U.S.C. § 363(b)(2) (recognizing Clayton Act notice requirements);’ see also
In re Pac. Gas & Elec. Co., 273 B.R. 795, 806 & n. 10 (Bankr. N.D. Cal. 2002) (“[T]he
court does not believe Congress intended to eviscerate all antitrust laws for debtors in
bankruptcy .. . .”); In re Jartran, Inc., 44 B.R. 331, 385 n. 116 (Bankr. N.D. Ill. 1984)
(noting that acquisition offer within a proposed plan raised antitrust concerns); c.f In re
United Healthcare Sys., Inc., No. CIV. A. 97-1159 (NHP), 1997 WL 176574, at *10
(D.N.J. Mar. 26, 1997) (“The Court recognizes that by binding the Bankruptcy Court to
certain state laws and state agency decisions, the Bankruptcy Court may be hindered in

achieving the highest price for the bankrupt estate's assets. However, the ‘[t]he text and

 

® Although there are limited circumstances under which a debtor-in-possession may act contrary to otherwise
applicable federal law, none apply here.

° Had Congress intended for the Bankruptcy Code to preempt all aspects of the Clayton Act, it would have said so.
Instead, section 363(b)(2) only limits who is required to provide notice and the review period’s duration.

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spirit of the bankruptcy provision have not been held to preempt state laws limiting the
alienability or present liquidation value of the assets, even though those limitations may
undermine the expeditious liquidation of the bankruptcy estate.’” (citation omitted)).
Rather, these statutes co-exist. See generally Morton v. Mancari, 417 U.S. 535, 551
(1974) (“The courts are not at liberty to pick and choose among congressional
enactments, and when two statutes are capable of co-existence, it is the duty of the courts,
absent a clearly expressed congressional intention to the contrary, to regard each as
effective.”’).’°

MDVA respectfully submits that this Court should harmonize the policies underlying the
Bankruptcy Code and the Clayton Act by denying the Sale Motion and encouraging the
Debtors to move for authority to sell one or more dairy plant Assets in the Carolinas to
the applicable Alternate Bidders, such as the sale of the High Point, NC plant to MDVA.”"
Selling one or more dairy plant Assets in the Carolinas to someone other than DFA will
afford the estate the maximum recovery possible within the confines of antitrust law. As
explained in more detail below, a sale to DFA is not in the best interests of the estate
because there is a serious risk that a court will determine that the sale will violate section
7 of the Clayton Act and, for that reason, enjoin it. Creditors and all parties in interest,
including any potential antitrust claimants, will benefit substantially more from a sale to
the Alternate Bidders for the Assets — regardless of whether the dollar amount of DFA’s

bid was higher.

 

© Indeed, this Court has recognized that it would not “ignore” the antitrust arguments raised by private parties. See
Bidding Procedures Hr’g Tr. 89:1—90:3.

“The Bankruptcy Code, like any law, must be read in its context as a tool of mankind, not a body of edicts to
which mankind is a slave irrespective of its interests to the contrary.” In re After Six, Inc., 154 B.R. 876, 882 (Bankr.
E.D. Pa. 1993).

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Cc. The Debtors’ Discretion To Determine The “Highest And Best” Offer For
The Assets Is Not Unfettered: A Bankruptcy Court Is Authorized To Reject
A Sale When, As Is The Case Here, The Debtors Received A Superior Offer
From The Estate’s Perspective.

34. —_ Pursuant to section 363 of the Bankruptcy Code, a debtor in possession, “after notice and
a hearing, may use, sell, or lease, other than in the ordinary course of business, property
of the estate.” 11 U.S.C. §§ 363(b)(1), 1107." Implicit in section 363(b) is the principle
that a debtor-in-possession has a certain amount of discretion when conducting a sale
outside the ordinary course. See, e.g., In re Crutcher Res. Corp., 72 B.R. 628, 631
(Bankr. N.D. Tex. 1987) (“The rule adopted by the Fifth Circuit requires that a Judge
determining a § 363(b) application expressly find from the evidence presented at hearing
a good business reason to grant the application.”). The debtor’s discretion extends to the
selection of a successful bidder after an auction or other court-sanctioned sale process.

35. But there are limits.

36. | Among other things, “[t]he debtor must demonstrate that the purchase price is not merely
the highest dollar amount — but the highest and best offer.” In re Flour City Bagels, 557
B.R. 53, 78 (Bankr. W.D.N.Y. 2016) (explaining that, in addition to price, the debtor
“should weigh other factors, ‘such as contingencies, conditions, timing, or other

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uncertainties in an offer that may render it less appealing.’” (citation omitted)); see also
Inre VCR, L.L.C., 922 F.3d 323, 327 (Sth Cir. 2019) (“[B]ankruptcy court may accept a
lower bid in the presence of sound business reasons. . . .”); In re Tresha-Mob, LLC, No.

18-52420-RBK, 2019 WL 1785431, at *2 (Bankr. W.D. Tex. Apr. 3, 2019) (rejecting

“one-track value-maximization argument that ignore[d] mountains of precedent in which

 

“ Tt is undisputed that the sale of substantially all the Debtors’ assets is outside the ordinary course of the Debtors’
business.

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trustees, debtors-in-possession, and courts have rejected the highest bid when it was not
the “best bid’”); In re Bakalis, 220 B.R. 525, 532 (Bankr. E.D.N.Y. 1998) (explaining
that trustee has a duty “to avoid undue risk” when conducting section 363 sale).

If a bankruptcy court determines that another offer is more advantageous for the estate,
then the court may exercise its discretion to deny approval of the offer that the debtor
wants to accept. See In re Broadmoor Place Investments, L.P., 994 F.2d 744, 746 (10th
Cir. 1993) (“[W]e hold that a Bankruptcy Court in a case such as this does have the
power to disapprove a proposed sale recommended by a trustee or debtor-in-possession if
it has an awareness there is another proposal in hand which, from the estate's point of
view, is better or more acceptable.”); see also In re Fairfield Sentry Ltd., 768 F.3d 239,
246-47 (2d Cir. 2014) (recognizing bankruptcy court’s “broad discretion and flexibility. .
. to enhance the value of the estates before it” and that bankruptcy court’s “principal
responsibility. . . is to secure for the benefit of creditors the best possible bid.”);
Lithograph Legends, LLC v. U.S. Tr., No. 09-CV-943JMR, 2009 WL 1209469, at *3 (D.
Minn. Apr. 30, 2009) (finding that bankruptcy court had discretion to disapprove bid
originally selected by the debtors in view of lower—yet superior—bid).

Here, the Debtors’ desire to consummate the sale transaction with DFA on the terms
proposed must yield to the requirements of the Clayton Act and the Bankruptcy Code as
well as what is in the best interests of the Debtors’ estates. As codified in 28 U.S.C. §

959(b), implied by sections 363(b) and 1107 of the Bankruptcy Code, and expressly held

 

5 Indeed, the Debtors’ own Bidding Procedures as approved by the Court recognize that price alone may not be
definitive of whether an offer is the “highest and best.” See Bidding Procedures at 6, D.I. 1178 at 21/43 (“For the
avoidance of doubt, the presence of any governmental, licensing, regulatory, or other approvals or consents in a bid,
and the anticipated timing or likelihood of obtaining such approvals or consents, may be grounds for the Debtors, in
consultation with the Consultation Parties, to determine that such bid (i) is not a Qualified Bid or (ii) is not higher or
otherwise better than any other Qualified Bid.”).

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by courts throughout the country, debtors-in-possession — which the Debtors in these
Chapter 11 Cases are — owe fiduciary duties to their estates. Those duties include
transacting business in accordance with non-bankruptcy law (subject to certain
exceptions not applicable here) and maximizing the value of their assets.

While DFA’s offer may (or may not) provide the highest consideration for substantially
all of the Assets, it cannot reasonably be deemed the best offer because its acceptance
will likely result in a transaction that violates antitrust law and will spawn time-
consuming and potentially expensive litigation. Interested DFA competitors, such as
MDVA, retailers, and consumers, will be entitled to an injunction enjoining or unwinding
the sale. See supra, Arg.I.A. If that occurs, the closing on the DFA acquisition can be
delayed to as far out as December 1, 2020," increasing the chances that the Debtors will
be unable to continue as a going concern. “[T]housands of jobs” will be lost, and “the
nation’s milk supply” will be disrupted — exactly what the Debtors, this Court, and other
parties in interest have been working so hard to avoid. See Reply 7 1. For the benefit of
all stakeholders, the Debtors should proceed with MDVA’s bid for the High Point
Facility, which the Debtors selected as the Alternative Bid. MDVA submits that its bid is
superior because it does not suffer from the risk and uncertainty that a sale will not close
for antitrust reasons as the DFA bid does.”

There are also other aspects of DFA’s offer that make it materially inferior to MDVA’s
all-cash bid for the High Point, NC assets with Closing by April 20, 2020. For example,

if the DFA Asset Purchase Agreement is approved, DFA will have sole discretion to

 

“4 See DFA APA at §12.01(b).

‘5 Selecting the Alternate Bidders as the Successful Bidders should not upset the reasonable expectations of any
party as all were informed that a sale to DFA would be contingent on this Court’s approval. See In re Payless
Cashways, Inc., 281 B.R. 648, 653 (B.A.P. 8th Cir. 2002) (citing 11 U.S.C. § 363(b)).

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extend the “Outside Closing Date” of the sale to December 1, 2020. See DFA APA
12.01(b)(ii) [D.I. 1321-1] (Ex. A-1). As the Debtors have stated on the record and in
various Court filings, time is of the essence for a sale in these Chapter 11 cases. Yet a
sale with DFA may not close (assuming it can close at all) until nine months from now.
In contrast, the offer submitted by MDVA for the High Point NC Plant provides for
Closing on or before April 20, 2020, does not provide for an extension and, therefore, is
far more advantageous for the estates.

Likewise, DFA’s offer is inferior to MDVA’s offer because it requires outside financing.
The Debtors advised bidders that “[p]roposals that do not require debt financing will be
viewed more favorably by Seller.” MDVA’s offer for the High Point Facility is all cash
— thus reducing risk to the estates and providing the Debtors the immediate liquidity that
they say they need.’*

The Court should also decline to defer to the Debtors’ selection of DFA as the Successful
Bidder because the underlying sale process disadvantaged regional bidders, such as
MDVA, that submitted “Partial Bids” on less than substantially all the Debtors’ assets.
MDVA understands and appreciates that the Debtors revised the Bidding Procedures to
make the sale process more open and transparent. As courts have noted, “[t]he purpose of
procedural bidding orders is to facilitate an open and fair public sale designed to
maximize value for the estate.” In re Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa. 1998).
But the changes that the Debtors made to the Bidding Procedures did not remedy all
defects. Notably, under the Bidding Procedures, bidders were not required to allocate the

purchase price among the assets they sought to purchase. It is, therefore, unclear how (or

 

'6 See footnote | to the form of Asset Purchase Agreement that Debtors provided to MDVA and other bidders.

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whether) the Debtors reasonably evaluated Partial Bids against DFA’s bid.’ Because the
bid process was not sufficiently detailed and transparent, this Court should reject the
results.

Alternatively, If The Court Approves The Sale, It Should Preserve The Rights Of

Private Parties To Effectively Resolve A Challenge To A Sale Of The Debtors’
Assets To DFA Under Section 7 Of The Clayton Act.

At a minimum, the legitimate antitrust concerns raised by MDVA and other parties in
interest justify including a provision in the sale order that recognizes MDVA and other
parties’ ability to effectively resolve all antitrust claims, challenges, and proceedings
arising from the sale transaction between the Debtors and DFA. Absent a provision in
the sale order preserving parties’ rights to effectively resolve such claims, there is a risk
that those claims could be effectively mooted. Since the Court has itself questioned its
ability to make decisions affecting the antitrust laws and claims of governmental and
private parties under them, see n. 10, supra, MDVA respectfully requests that a sale
order, if entered, expressly provide that, notwithstanding the Court’s approval of the sale,
all antitrust claims by all governmental and private parties arising from or related to the
sale are preserved.

RESERVATION OF RIGHTS

 

MDVA reserves its rights to amend, modify, and/or supplement this Objection and to
raise additional objections prior to or at the hearing on the Sale Motion. MDVA further
reserves its rights to file a separate lawsuit with this or any other court challenging the
sale on the grounds that such a sale would violate applicable antitrust laws and seek,

among other relief, an injunction enjoining the sale.

 

1 This Court stated that there was a way other than requiring allocation to address this issue. See Bidding Procedures
Hr’g Tr. 84:10—-12. It does not seem, however, that the Debtors devised an alternative or implemented it.

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CONCLUSION

WHEREFORE, MDVA respectfully requests that this Court deny the Sale Motion or,

alternatively, enter an order approving a sale of the High Point, NC assets to MDVA as Alternate

Bidder, or, alternatively, enter an order approving the sale that expressly provides that (i) the

Court is not determining whether the sale would or would not violate applicable antitrust laws,

and (ii) the Court’s approval of the sale in no way affects any antitrust claims, challenges, or

proceedings arising from the sale, and recognizes MDVA’s and other parties’ ability to

effectively resolve all antitrust claims, challenges, and proceedings arising from the sale

transaction between the Debtors and DFA, and that all such claims, challenges, and proceedings

are preserved.

Dated: April 1, 2020
Houston, Texas

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Respectfully submitted,
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Attorneys for MDVA

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CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that on this 1* day of April, 2020, I caused the foregoing
Objection to be filed via the Court’s CM/ECF system, which will cause notice of filing to be
served on all registered users. I FURTHER CERTIFY that I caused true and correct copies to be
served via e-mail or first-class mail, postage prepaid, on all other parties on the most recent
Master Service List filed by the Debtors.

/s/ Richard E. Hagerty
Richard E. Hagerty

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